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IN THE UNITED sTATEs DISTRICT coURT
FOR THE wEsTERN DISTRICT oF TENNESSEE U§HLY~
wEsTERN DIvIsIoN

 

 

 

UNITED STATES OF AMERICA,
Plaintiff,

vs. Cr. No. 02-20165 DP

ALVIN IRWIN MOSS, et al.,

Defendants.

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ORDER GRANTING IN PART AND DENYING IN PART
DEFENDANTS’ MOTION TO COMPEL

 

Before the court is the defendants’ Motion to Compel
Discovery, filed on November 5, 2004 (dkt #424). The government
responded on November 18, but did so in summary fashion. In an
order entered on December 16, 2004, the court directed the
government to respond, to the defendants' motion, with greater
specificity. On December 17, 2004, the government complied with
the court's order and filed its supplemental response. On January
19, 2005, the defendants filed a reply.

The motion was referred to the Magistrate Judge for

determination.1 For the reasons below, the motion is GRANTED in

 

lOn April 15, 2005, the parties appeared before the District
Judge to discuss the status of the case, including the status of

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part and DENIED in part.
I . BACKGROUND

The factual background. of this case can. be found in the
court's Order Granting Defendant’s Motions to Dismiss the
Indictment (dkt #247) and Order Denying Defendants' Motions to
Dismiss the Indictment and. Granting Defendants' Request for a
Hearing (dkt #458). In summary, this case arises from an
investigation conducted by the Federal Bureau Of Investigation
(“FBI”) of the defendants and their connection to an entity known
as IDM (which was located in Bridgetown, Barbados, West Indies) and
their involvement with an international lottery operationJ As part
of its investigation, the government, through the Office of

International Affairs of the United States Department of Justice

 

certain ongoing discovery disputes. Subsequent to that status
conference, and at the direction of the District Judge, defense
counsel Robert Ritchie drafted a proposed “Order on Discovery”
relating to the discovery disputes discussed at the April 15
status conference, and submitted that proposed order to the
District Judge. The court entered the order on May 2, 2005. The
minutes of the April 15 status conference and the order appear to
address Defendants' request for discovery of electronic materials
seized from businesses and warehouses of the defendants in
Barbados, West Indies, in July 1996. However, the last paragraph
of the order directs the government to produce “all requested
discovery.” On May 4, 2005, the undersigned Magistrate Judge
held a telephone conference with attorney Robert Ritchie and
Assistant U.S. Attorney Dan Newsom. The attorneys disagreed on
the scope of the May 2 order, and stated that they Will take up
the matter with the District Judge. gee Letter addressed to
District Judge Donald from Assistant U.S. Attorney Dan Newsom,
filed May 3, 2005 (dkt #499). However, absent an order from the
District Judge withdrawing the prior order of reference, this
Magistrate Judge will proceed with addressing the merits of
Defendants’ motion to compel.

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(“OIA-DOJ”), sought assistance from the government of Barbados in
obtaining evidence relating to IDM. On July 12, 1996, Barbados and
FBI officials executed search warrants in Barbados, seizing
approximately 140 bankers boxes of documents.

Subsequently, IDM representatives filed court pleadings in
Barbados challenging the legality of the searches. The court in
Barbados granted IDM’s motion. to seal the boxes of documents
pending a judicial hearing on the matter. On March 18, 1998, the
Barbados court dismissed the interim order. IDM appealed the order
and moved to enjoin officials from unsealing or removing the seized
documents. The Barbados court granted IDM's motion. On December
9, 1998, the government filed in this court an ex parte motion to
suspend the statute of limitations, pursuant to 18 U.S.C. § 3292.
On December 14, 1998, the court granted the government's motion.

On May 8, 2002, the government returned an 88-count indictment
against the defendants, charging each defendant with violations of
18 U.S.C. § 1962(c) (substantive criminal RICO), 18 U.S.C.
§ 1962(d) (RICO conspiracy), and 18 U.S.C. § 1341 (mail fraud).
The RICO conspiracy charge includes 68 alleged overt acts, and the
substantive RICO charge includes 121 alleged predicate acts. In
addition, the indictment contains a criminal forfeiture count that
involves numerous businesses, properties, bank accounts, and other
assets.

Defendants AlvirlMoss, Richard'Titterington, Geoffrey'Feldman,

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Sherrie-Lee Cave, Stacy Beavers, and Michael Cole (collectively
“Defendants”) have now filed a H©tion to compel relating to a
variety' of discovery' disputes.2 The court will address each

dispute in turn below.

II. ANALYSIS

 

A. Rule 16 Materials and Related Items
1. All statements made by each defendant, written or
recorded.

Defendants request statements that they contend should be
produced pursuant to Federal Rule of Criminal Procedure 16(a)(1)(A)
and (B), including written and recorded statements made by the
defendants in the possession of the government, statements of co-
defendants, and defendants' statements to third parties. The
government has informed the defendants that it has provided each
defendant with his or her own post-arrest statements. The
government has also stated that it has complied, and will continue
to comply, with Rule 16, which requires pretrial production of (1)
oral statements made by the defendant in response to interrogation
by a person the defendant knew was a government agent (if the
government intends to use the statement at trial); (2) written or
recorded statements clf the defendant ill the possession.<af the

government; (3) any written record containing the substance of

 

2Richard Titterington died after this motion was filed, and
a motion for abatement of proceedings ab initio has been filed on
his behalf.

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relevant oral statements made before or after arrest if the
defendant made the statement in response to interrogation by a
person the defendant knew was a government agent; and (4) the
defendant's grand jury testimony. §ee Fed.R.Cr.P. 16(a)(1)(A) and
B). To the extent the government has not fully complied with this
rule, the government is hereby ordered to disclose to each
defendant his or her own statements as required under Fed. R. Cr.
P. 16(a)(1){A) and (B), within twenty (20) days from the date of
this order.

However, as to the defendants’ broader request that the court
order the government to provide each defendant with statements made
by other co-defendants, as Well as statements each defendant made
to third parties (e.g. informants, accomplices, co-conspirators,
witnesses, tipsters, or co-defendants), the motion is DENIED. Rule
16 governs pretrial discovery in criminal matters and sets forth
the guidelines governing the government's duty to disclose
information to the defense. “Rule 16 does not authorize discovery
of statements made by co-conspirators, co-defendants or witnesses.”
United States v. Santiago, 174 F.Supp.2d 16, 38 (S.D.N.Y. 2001);
see also United Sates v. Percevault, 834 F.2d 283, 285 (2d Cir.
1987); United States v. Fischbach & Moore, Inc., 576 F.Supp. 1384,
1390 (W.D. Pa. 1983); United States v. Perkins, 383 F.Supp 922, 930
(N.D. oh. 1974); United states v. Ahmad, 53 F.R.D. 186, 189 (M.D.

Pa. 1971). Moreover, a defendant is not entitled to pretrial

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discovery of his or her statements made to third parties, unless
those statements are grady material or except as required by 18
U.S.C. § 3500. _§e Percevault, 834 F.2d at 285~87 (observing that
the only way the government can use purported vicarious admissions
against defendants at trial is through testimony of prospective
government witnesses, and thus, the Jencks Act governs); United
States v. Penix, 516 F.Supp. 248 (W.D. Okla. 1981).3

2. Reports of examinations and tests.

Defendants ask for production, pursuant to Rule 16(a)(1)(F),
of all written reports of examinations, tests, or experiments in
the government's possession and which are material to preparing the
defense or which the government intends to use in its case~in-chief
at trial. The government has stated that it is presently complying
and will continue to comply with the requirements of Rule 16. To
the extent these reports have not yet been, provided to the
defendants, the government is ordered to permit the defendants to
inspect and copy these reports within twenty (20) days from the
date of this order.

3. Documents and tangible obiects.

Citing Rule 16(a)(1)(E), the defendants seek an order

 

3The cases cited by the defendants do not support their
contention that they are entitled to co-defendant statements or
defendants’ statements to third parties that are not written or
recorded. In fact, these cases only require that the government
disclose defendant’s recorded statements, which Rule 16(a)(1)(A)
and (B) already requires.

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requiring the government to produce books, papers, documents, and
tangible objects, including any such material in an electronic or
computerized format and disclose the nature of all electronic and
computerized materials. The defendants state that the government
has made available to them more than two hundred boxes of
materials, but claim that given the complexity of this case and the
passage of time, simply making such voluminous records available to
the defendants for copying and inspection is inadequate. They
assert that the government should be required to categorize the
documents and to identify with particularity which materials it
plans on using at trial.

At least two courts have recently denied similar motions on
the basis that Rule 16 does not require the government to
categorize and identify documents. See United States v. Scrushy,
NO. 03-BE-530, 2004 WL 483264, at *3 (N.D. Ala. Mar. 3,
2004)(unpublished); United States v. Kaplan, No. 02-CR-883, 2003 WL
22880914, at *21 (S.D.N.Y. Dec. 5, 2003)(unpublished); see also
United States v. Jordan, 316 F.3d 1215, 1253 (11th Cir. 2003). In
Scrushy, the defendants filed a motion to compel the government to
specify the discovery documents it expected to use in its case-in-
chief at trial. The court denied the motion, holding as follows:

The court agrees with the Government that the plain
language of Rule 16(a)(1)(E}(ii) does not require the

Government to specify from among the universe of

discovery documents produced to defendant which of those

documents it intends to rely upon at trial. Rule
16(a)(1)(E) describes three categories of documents the

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Government must turn over to the defendant during
discovery . . .. So long as the Government fulfills its
discovery obligation to produce all documents fitting
into any one of these three categories, it cannot be put
at hazard for failing to correctly categorize the
documents it produces. . . . The rule does not impose a
duty on the Government to tip its hand prematurely by
requiring it to give the defendant a roadmap of its
strategy. The act of categorizing documents under Rule
16 for the defendant necessarily reveals the Government's
strategic view of the significance of each document ~
whether it is one pertinent to an anticipated defense or
one the Government itself intends to use. The rule does
not require that outcome. Although it requires an
exchange of information, it does not open the door to
discovery of strategy.

Ld. at *3; see also Kaplan, 2003 WL 22880914, at *21 (denying
defendant’s motion to compel the government to identify which of
the 33,000 pages <Jf documents produced ii; intended tx) use at
trial). The court agrees with these decisions, and likewise DENIES
the defendant's motion to compel the government to categorize or
identify documents.4

4. Expert witnesses.

Defendants ask that the government provide them with a written
summary of expert testimony, as required under Rule 16(a)(1)(G).
To the extent the government has not yet provided its expert
summaries to the defendants, it shall do so within twenty {20) days
from the date of this order.

B. Government Witnesses and Documents To Be Used in Government’s
Case-in-Chief

 

4With regards to the request for production of electronic
materials, that issue was addressed by the District Judge in the
May 2 order.

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Defendants seek pre-trial discovery from the government of the
names of its trial witnesses and a list of trial exhibits. With
respect to a witness list, the case law in this circuit provides
that defendants in non-capital cases are not entitled to know who
will testify for the government in advance of trial. See e.g.,
United States v. Turner, 91 Fed. Appx. 489, 491 (6th Cir. 2004);
United States v. Justice, 14 Fed. Appx. 426, 432 (6th Cir. 2001);
United States v. Perkins, 994 F.2d 1184, 1190 (6th Cir. 1993);
United States v. McCullah, 745 F.2d 350, 353 (6th Cir. 1984);
United States v. Crawford, No. 04-20103, 2004 WL 2905394, at *2
(W.D. Tenn. May 03, 2004)(unpublished). As for the defendants
request for pretrial disclosure of the government's trial exhibits,
for the same reasons set forth in section II.A.3 above, the motion
is DENIED. §e§ Scrushy 2004 WL 483264, at *3; Kaplan, 2003 WL
22880914, at *21; see also Jordan, 316 F.3d at 1253.

C. Jencks Act Material

Defendants’ motion requests early production of Jencks Act
materials. Defendants also ask “for information (e.g., names of
witnesses for whom the government possesses Jencks Act statements}
which the Court is authorized to order be produced.” Defs.' Reply
at 11-12. Defendants further request early production of the
statements of non-prospective witnesses which contain grady
material. The Jencks Act, 18 U.S.C. § 3500, provides:

{a) In any criminal prosecution brought by the United

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States, no statement or report in the possession of the
United States which was made by a Government witness or
prospective Government witness (other than.the defendant)
shall be the subject of subpoena, discovery, or
inspection until said witness has testified on direct
examination in the trial of the case.

The Sixth Circuit has held that “the government may not be
compelled to disclose Jencks Act material before trial.” United
States v. Presser, 844 F.2d 1275, 1283 (6th Cir. 1988); accord
United States v. Mullins, 22 F.3d 1365, 1372 (6th Cir. 1994);
United States v. Curtis, No. 91-5189, 1991 WL 270820, at *1 (6th
Cir. Dec. 19, 1991}(unpublished); United States v. Algie, 667 F.2d
569, 571 (6th Cir. 1982). Moreover, with respect to the request
for names of government witnesses, as discussed earlier in this
order, defendants in non-capital cases are not entitled to know who
will testify for the government in advance of trial. §§e United
States v. Turner, 91 Pedd Appx. 489, 491 (6th Cir. 2004).
Finally, as to the broader request for names of persons who have
made statements to a government official who will not be called as
witnesses at trialr these statements need not be produced. §ee
United States v. Juliano, 2000 WL 640644, at *3 (S.D.N.Y. May 18,
2000)(unpublished)(stating that the government was not obligated to
produce statements of individuals not called to testify); gni§ed
States v. Lakain, 1996 WL 294276, at *2 {D.D.C. May 28,
1996)(unpublished}. Therefore, these requests are DENIED.

D. Brady Material

Defendants request the court to order the government to

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disclose any evidence that is favorable to the defendants, as
required by grady v. Marvland, 373 U.S. 83 (1963}. ln addition to
a general request for all exculpatory material in the government’s
possession, the defendants list nine categories of documents that
they claim may contain or constitute grddy material. The
government responded to many of the specific requests, but it also
made the general statement that it is aware of its obligations
under grddy and will advise the defense of any exculpatory material
it obtains.

“There is no general constitutional right to discovery in a
criminal case, and grady did not create one . . . .” Presser, 844
F.2d at 1281 {quoting Weatherford v. gursev, 429 U.S. 545, 559
(1977)). The Supreme Court “has made it clear that while the grady
rule imposes a general obligation upon the government to disclose
evidence that is favorable to the accused and material to guilt or
punishment, the government typically is the sole judge of what
evidence in its possession is subject to disclosure." Presser, 844
F.2d at 1281. Because the government has stated it is aware of its
obligations under grady and will comply with Brady, the motion is
DENIED.

E. Extradition Documents

Defendants ask for documents relating to the extradition of

Alvin.Moss. However, since the filing of the motion to compel, the

government has provided these materials to the defendants.

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Therefore, the motion is DENIED as moot.
F. Search Warrant Materials

Defendants request materials related to searches in New
Jersey, Florida, Canada, Barbados, and Australia, as well as any

Federal Express shipments between Canada and Barbados that were

intercepted7 by' United States Customs. Defendants limit their
request “[t]o the extent such documents are in the possession of
the government.” The government responds by stating that the only

search conducted in the United States in this investigation was on
July 12, 1996, at L & M Marketing in Cherry Hill, New Jersey, and
that the government will produce a copy of the search warrant,
supporting affidavit, and inventory of the items seized at that
location. The government also states that it does not have copies
of warrants for searches conducted in other countries.

With respect to the request for search warrants and related
materials, the government is ordered to produce all search
warrants, supporting affidavits, and inventories of all domestic
and foreign searches, if these documents are in the government's
possession, custody, or control, within twenty (20} days from the
date of this order. The government has not responded to the
defendants’ request for materials relating to Federal Express
shipments that were intercepted by United States Customs, and it
appears that these items are material to preparing the defense.

These documents shall be produced or made available for

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inspection/copying within twenty (20) days from the date of this
order.
G. Rule 404(b) Evidence

Defendants want a list of crimes, wrongs, or acts that the
government will seek to introduce at trial against each defendant
under Federal Rule of Evidence 404(b). The government did not
respond to this request in its supplemental response.

Rule 404(b) provides that on request of the defendant, the
government must give the defense “reasonable notice" of other
crimes, wrongs, or acts that it intends to introduce at trial.
0nce the defendant makes an initial request, the government has a
continuing obligation to update the defendant on any Rule 404(b)
evidence it wishes to use at trial. See United States v. Barnes,
49 F.3d 1144, 1148 (6th Cir. 1996). Failure to provide reasonable
notice of Rule 404(b) evidence prior to trial or failure to show
good cause why reasonable notice was not given, may result in
exclusion of the evidence at trial. See United States v. Vega, 188
F.3d 1150, 1153 (9th Cir. 1999); United States v. Arana, 182 F.R.D.
236, 241 (E.D. Mich. 1998). Therefore, the motion is GRANTED. The
government is ordered to provide the defendants with reasonable
notice prior to trial of any Rule 404(b) evidence it intends to use
at trial.

H. Statute of Limitations Tolling Material

Defendants request materials relating to the tolling of

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statute of limitations in this case under 18 U.S.C. § 3292. In
support of this motion, the defendants rely on defendant
Titterington's March 14, 2003 Motion for Discovery (dkt #220).5 In
that motion, defendant Titterington asked for production of three
general categories of documents: (1) any communications between the
governments of the United States and garbados relating to the
evidence seized in Barbados pursuant to the United States’s request
for assistance; (2) a detailed description and supporting
documentation of what measures were taken by the government in its
attempts to obtain final action on the request for assistance; and
{3) all documents describing the evidence seized and reviewed by
agents of the United States or Barbados prior to the evidence being
sealed by the Barbados court.

18 U.S.C. § 3292 provides as follows:

(a)(l) Upon application of the United States, filed
before return of an indictment, indicating that
evidence of an offense is in a foreign country,
the district court before which a grand jury is
impaneled to investigate the offense shall suspend
the running of the statute of limitations for the
offense if the court finds by a preponderance of
the evidence that an official request has been
made for such evidence and that it reasonably
appears, or reasonably appeared at the time the
request was made, that such evidence is, or was,

in such foreign country.

(2) The court shall rule upon such application not
later than thirty days after the filing of the

 

5The government's response to the motion to compel likewise
references the response it previously filed to defendant
Titterington’s motion (dkt #242).

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application.

(b) Except as provided in subsection (c) of this section,
a period of suspension under this section shall begin
on the date on which the official request is made and
end on the date on which the foreign court or
authority takes final action on the request.

(c) The total of all periods of suspension under this
section with respect to an offense -

(1) shall not exceed three years; and

(2) shall not extend a period within which a criminal
case must be initiated for more than six months if
all foreign authorities take final action before
such period would expire without regard to this
section.

(d) As used in this section, the term “official request”
means a letter rogatory, a request under a treaty or
convention, or any other request for evidence made by
a court of the United States or an authority of the
United States having criminal law enforcement
responsibility, to a court or other authority of a
foreign country.

18 U.S.C. § 3292. As discussed above, the defendants first seek
communications between the governments of the United States and
Barbados relating to the request for assistance. They contend that
the Barbados government may have taken final action prior to the
maximum three year tolling period.

ln response to this request, the government produced twelve

documents, which appear to be n©stly correspondence written by
government attorneys in the United States and garbados and sent to
other attorneys within their respective governments or sent to

their respective counterparts in the other country. The government

claims that the Barbados government did not take “final action”

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within three years of the official request for assistance, and
therefore the statute of limitations was tolled for the maximum
three year period.

Based on the documents provided by the government, it appears
that a search was executed on July 12, 1996, by authorities in
garbados. Representatives of IDM challenged the search, and a
court in garbados ordered that the seized items be sealed. The
lower court later determined that the order preventing the release
of the evidence should. be dismissed. on. March 18, 1998. IDM
representatives filed a notice of appeal, and the Solicitor General
of Barbados refused to release the documents until the appeal was
heardr The Court of Appeals reversed the lower court’s decision in
December 1998 and continued the injunction that prevented the
evidence to be sent to American officials “until the appeal is
heard and7 determined.” Two letters by' Department of Justice
attorneys sent to the Solicitor General of Barbados dated June 22,
2000 and March 31, 2003, indicate that the garbados courts did not
make any further rulings on the sealed documents as of those dates.

Although “final action" by the foreign authority determines
the end of the tolling period under Section 3292, the statute does
not define the term. No cases in this circuit or in this district
have defined, “final action.” Three other federal appellate
courts, however, have addressed this issue. The cases require that

some clear definitive act on the part of the foreign authority is

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required to constitute final action within the meaning of the
statute. See United States v. DeGeorge, 380 F.3d 1203, 1215 (9th
Cir. 2004)(citing United States v. Bischel, 61 F.3d 1429, 1434 (9th
Cir. 1995)); United States v. Torres, 318 F.3d 1058, 1065 (11th
Cir. 2003); United States v. Meador, 138 F.3d 986, 992 (5th Cir.
1998); see also 'United States v. Ratti, No. 03-0330, 2005 WL
878093, at *9 (D. Md. Feb. 1, 2005)(unpublished); United States v.
Trainor, 277 F.Supp.Zd 1278, 1284 (S.D. Fla. 2003); United States
v. King, NO. 98-CR-9lA, 2000 WL 362026, at *19 (W.D.N.Y, Mar. 24,
2000)(unpublished). Although the courts disagree on exactly what
the definitive act must be, compare gischel and Torres with Meador

and Ratti, the courts all require that, at minimum, a dispositive

 

response must be communicated by the foreign authority to the U.S.
government in order for there to be final action. Meador, 138 F.3d
at 992 (“when the foreign government believes it has completed its
engagement and communicates that belief to our government, that
foreign government has taken a ‘final action' for the purposes of
§ 3292(b).”).

Regarding the defendantsr request for discovery of
communications between the U.S. and_ garbados governments, the
government has produced some, but presumably' not all, of the
correspondence between the two governments relating to the request
for assistance at issue. The government, however, cannot be the

judge of what constitutes “final action" by the foreign government

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under § 3292. Meador, 138 F.3d at 993-94; Ratti, 2005 WL 878093, at

 

*10. Thus, in light of the court's order granting the defedants'
request for an evidentiary hearing on. whether the government
complied with § 3292, the court hereby orders that the government
produce all correspondence between the two governments relating to
the request for assistance, as well as all garbados court documents
and pleadings relating to the government's request for assistance,
which are in the possession, custody or control of the government.
These documents must be produced within eleven (11) days from the
date of this order.

With respect to the defendants’ request for an inventory of
items seized in garbados and information relating to interviews and
bank records in Barbados, the defendants argue that the tolling of
the limitations period under § 3292 is offense-specific, and that
having an inventory and the other requested information will help
the defendants determine whether the items are relevant to the
tolling of the statute of limitations for each offense. Defendants
also assert that the statute of limitations in a RICO charge is
defendant-specific, and that the government must demonstrate that
the evidence requested from the garbados authorities is relevant
and material to the specific counts for each defendant.

While the defendants are correct that section 3292 is offense-
specificr “such specificity does not require that a foreign

evidence request expressly list by citation the alleged statutory

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violations in order for the foreign evidence request to pass muster
under 18 U.S.C. § 3292.” United States v. Neill, 952 F.Supp. 831,
832 (D.C.C. 1996); see also United States v. Wilson, 249 F.3d 366,
374 (5th Cir. 2001). Moreover, although a statute of limitations
determination under RICO is defendant-specific, §§§ United States
v. Torres Lopez, 851 F.Zd 520 (1st Cir. 1988); United States v.
Starrett, 55 F.3d 1525, 1545 (11th Cir. 1995), determining the
tolling of the statute of limitations under § 3292 is not

defendant-specific. See Neill, 952 F.Supp. at 833; United States

 

v. Ratti, 2005 WL 878093, at *5 (D. Md. Feb. l, 2005). “In 18
U.S.C. § 3292, Congress focused on the offense, not the offender.”
ggrll, 952 F.Supp. at 834. Thus, the court DENIES defendants’
request for production of inventories and information relating to
interview and bank records in Barbados.E

Finally, the defendants seek information that describes the
measures taken by the government to obtain final action on its
request for evidence. They contend the government must act in good
faith and with due diligence in obtaining the evidence located in
foreign countries. However, the courts that have considered this

argument have held that § 3292 does not impose a good faith and due

 

6Defendants also ask for the inventory of items seized
because it “will help determine whether or not these items were
available to the government via more expeditious means.” This
appears to be directly related to their argument that the
government must act in good faith and with due diligence,
discussed infra, an argument which the court rejects.

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diligence requirement on the government. g§§ Bischel, 61 F.3d at
1435; Torres, 318 F.3d at 1064; g§;;r, 2005 WL 878093, at *10. The
cases cited by the defendants only stand for the general
proposition that the government must act in good faith when
prosecuting a. defendant. See `Young in United States ex rel.
Vuitton et Fils S.A., 481 U.S. 787, 826 (1987); United States v.
Valenzuela-Bernal, 458 U.S. 858, 872 (1982); gerger` v. United
States, 295 U.S. 78, 79 (1935); Meador, 138 F.3d at 994 (5th Cir.
1998); United States v. McLernon, 746 F.2d 1098, 1121 (6th Cir.
1984); State v. Kindsvogel, 43 P.3d 73, 74 (Wash. Ct. App. 2002);
grown v. Grosso, 285 A.D.2d 642, 644 (N.Y. App. Div 2001).
Therefore, this part of the defendants’ motion is DENIED.
I. Information Relating to Grand Jury Proceedings

Defendants ask the court to order the production of
information relating to the grand jury proceedings in this case.7
The defendants contend they need this information because 18 U.S.C.
§ 3292 requires that only a district court sitting in the
jurisdiction where an empaneled federal grand jury is investigating
the offense may issue an order tolling the statute of limitations.
Defendants argue that if an empaneled grand jury was not

investigating the offenses charged in the instant indictment at the

 

7Defendants and the government incorporate by reference the
briefs filed relating to defendant Titterington's Motion for
Disclosure of Nonprivileged Information Relating to Grand Jury
Proceedings (dkt #217).

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time of the application and entry of the court's tolling order,
then the tolling order is ineffective because the district court
did not have jurisdiction under the statute.

The general rule of secrecy of grand jury proceedings has been
held to be essential to the purpose of the grand jury process.
United States v. Proctor & Gamble Co., 356 U.S. 677, 681 (1958).
lt has long been the settled rule of the Sixth Circuit to require
the defendant to demonstrate a “particularized need” for grand jury
materials before the defendant may have pretrial access thereto.
United States v. Tennvson, 88 F.R.D. 119, 121 (E.D. Tenn. 1980)
(citations omitted). The defendant's particularized need for
disclosure must outweigh the interest in continued grand jury
secrecyz A “generalized desire” to inspect grand jury materials in
the hopes that evidence beneficial to the defendant will be
discovered does not satisfy the particularized need requirement.
ld. at 121. Moreover, the disclosure of grand jury proceedings is
“not proper merely for discovery purposes.” ld. lt is within the
trial judge's discretion whether to grant or deny requests for the
disclosure of grand jury proceedings. United States v. levinson,
405 F.2d 971, 981 {6th Cir. 1968).

With respect to request (a) for information on the location of
each grand jury that considered evidence in this case, and request
(b) for the dates which each grand jury investigated this case, the

motion is GRANTED. “The disclosure of the commencement and

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termination dates of the grand jury does not disclose the essence
of what took place in the grand jury room.” United States v.
§mdrg, NO. 02-20380, 2004 WL 784521, at *3 (W.D. Tenn. Jan. 26,
2004)(permitting a defendant to discover the grand jury’s
commencement and termination dates)(citing cases). Therefore, the
court will order its disclosure within twenty (20) days from the
date of this order.

With respect to the remaining requests (c) through (i), the
motion is DENIED. First, contrary to the defendants’
interpretation of the statute, the phrase “the district court
before which a grand jury is impaneled to investigate the offense”
found. in § 3292 is merel}f a venue requirement specifying the
particular court that may issue the tolling order. gg§ United
States v. DeGeorqe, 380 F.3d 1203, 1213-14 (9th Cir. 2004): United
States v. King, NO. 98-Cr-91A, 2000 WL 362026, at *22 (W.D.N.Y.
Mar. 24, 2000)(unpublished). Second, other than the general
concern that apparently multiple grand juries investigated this
case over a span of several years, the defendants have not
demonstrated the particularized need that would warrant disclosure
of the requested grand jury materials.

J. Sentencing

Defendants request all materials and evidence upon which the

government will rely at sentencing. A defendant, however, is not

entitled. to advance notice of the specific evidence that the

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government will use at sentencing. See, e.g., Gray v. Netherland,
518 U.S. 152, 166-170 (1996)(determining that there was no
constitutional rule that a defendant has a right to notice of the
evidence that the state plans to use at sentencing); United States
v; Lee, 274 F.3d 485, 495 (8th Cir. 2001)(“Although [defendant] had
a right to advance notice of aggravating factors the government
sought to prove at sentencing [under 18 U.S.C. § 3593(a)], [the
defendant] had no right to advance notice of the specific evidence
the government would use to prove those factors."); see generally
United States v. Battle, 173 F.3d 1343, 1347 (11th Cir. 1999);
United States v. Nguyen, 928 F.Supp. 1525, 1545-46 (D. Kan. 1996).
Therefore, the motion is DENIED.
K. Other Materials

In their final set of requests, the defendants request various
materials, including copies of all U.S. Postal Service complaints
filed against related entities, copies of all U.S. Customs searches
and seizures of certain lottery materials, U.S. Postal Service
notifications of seizures to the Barbados Postmaster, a copy of
garbados Postmaster’s notification to Fred Collier, copies of all
garbados Customs' seizures related to the case, and copies of all
documents concerning the U.S. Customs’ seizures of international
shipments forwarded through commercial carriers. In their motionf
the defendants note that “[t]he government has indicated that it

will provide these materials.” The government did not address this

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request in its original or supplemental response. Therefore, the
motion with respect to these documents is GRANTED. The government
is ordered to produce these materials within twenty (20) days from
the date of this order.

III. CONCLUSION

For the above reasons, the defendant's Motion to Compel is
GRANTED in part and DENIED in part. For all documents that the
court has ordered to be produced (with the exception of
communications between the United States and Barbados governments
relating to the request for assistance and related court
documents), the production shall be made within twenty (20) days
from the date of this order. The production of the communications
between the U.S. and garbados and related court documents shall be

made within eleven (11) days from the date of this order.

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TU M. PHAM
United States Magistrate Judge

IT lS SO ORDERED.

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Date '

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This notice confirms a copy of the document docketed as number 503 in
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Honorable Bernice Donald
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